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AO 442 (Rev. 11/11)     Arrest Warrant




                                              UNITED STATES DISTRICT COURT
                                                                          for the

                                                                  District of Columbia


                      United States of America                                       Case: 1:21-mj-00469
                                     v.                                     )        Assigned To : Meriweather, Robin M.
                                                                            )        Assign. Date: 6/10/2021
                      Brian Christopher        Mock                                  Description: Complaint wI Arrest Warrant
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                                 Defendant


                                                             ARREST WARRANT

To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                 Brian Christopher Mock
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment             o    Superseding Indictment           o   Information       o   Superseding Information           N Complaint
o     Probation Violation Petition               o    Supervised Release Violation Petition        o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:

18 U.S.c.    § III (a)(I) - Assaulting, Resisting, or Impeding Certain Officers
18 U.S.C.    §§ I 752(a)(1), (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
Disorderly    and Disruptive Conduct in a Restricted Building or Grounds
18 U.s.c.    § 231 (a)(3) - Obstruction of Law Enforcement During Civil Disorder
40 U.S.c.    § 5104(e)(2)(F) - Acts of Physical Violence in any of the Capitol Buildings or Grounds
                                                                                                                   2021.06.10

Date:           06/10/2021
                                                                                                    Issuing officer's signature


City and state:                          Washington, D.C.                            Robin M. Meriweather,         U.S. Magistrate     Judge
                                                                                                      Printed name and title


                                                                         Return

           This warrant was received on (date)
at (city and state)  tV\.        \oM
                                 e..~    :, t

Date:     c... (lL ld9~
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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                       )        COURT MINUTES - CRIMINAL
United States of America,                              )             BEFORE: HILDY BOWBEER
                                                       )              U.S. MAGISTRATE JUDGE
                          Plaintiff,                   )
v.                                                     )     Case No:              21-mj-445 HB
                                                       )     Date:                 June 11, 2021
Brian Christopher Mock,                                )     Video Conference
                                                       )     Time Commenced:       1:43 p.m.
                          Defendant.                   )     Time Concluded:        2:02 p.m.
                                                       )     Time in Court:        17 minutes
                                                       )
                                                       )
                                                       )
APPEARANCES:

       Plaintiff: Michelle Jones, Assistant U.S. Attorney
       Defendant: Keala Ede, Assistant Federal Public Defender
                        XFPD                     X To be appointed

       X Advised of Rights

on X Complaint
X Date charges or violation filed: 6/10/2021
X Current Offense: Assaulting, Resisting, or Impeding Certain Officers;
Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority; Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
Obstruction of Law Enforcement During Civil Disorder;
Acts of Physical Violence in any of the Capitol Buildings or Grounds
X Charges from other District: District of Columbia
X Title and Code of underlying offense from other District: 18:111(a)(1)
X Case no: 21-mj-469

X Government moves for detention.
Motion is X granted, temporary detention ordered.

Next appearance date is June 15, 2021 at 11:30 a.m. via video conference before U.S. Magistrate Judge Katherine M.
Menendez for:
X Detention hrg X Preliminary hrg

X Removal hearing waived

Additional Information:
X Oral Rule5(f) Brady notice read on the record.
X Defendant consents to this hearing via video conference.
X Government motions to unseal the Complaint - Granted

                                                                                                     s/ JAM
                                                                                Signature of Courtroom Deputy




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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No: 21-mj-445 HB


               Plaintiff,

v.
                                                           ORDER OF PRELIMINARY
                                                      DETENTION PENDING HEARING
                                                      PURSUANT TO BAIL REFORM ACT
Brian Christopher Mock,

               Defendant.
               _________________________________________________

               Upon motion of the United States it is ORDERED that a detention/preliminary

hearing is set for June 15, 2021 at 11:30 a.m. before Magistrate Judge Katherine M. Menendez, via

video conference. Pending this hearing, the Defendant shall be held in custody by the United

States Marshal and produced for the hearing.


Dated: June 11, 2021                                  s/Hildy Bowbeer
                                                      Hildy Bowbeer
                                                      U.S. Magistrate Judge



If not held immediately upon defendant's first appearance, the hearing may be continued for up to
three days upon motion of the Government, or up to five days upon motion of the defendant.
18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142 are present.
Subsection (1) sets forth the grounds that may be asserted only by the attorney for the
Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for
the Government or upon the judicial officer's own motion if there is a serious risk that the
defendant (a) will flee; or (b) will obstruct or attempt to obstruct justice, to threaten, injure, or
intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.




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                UNITED STATES DISTRICT COURT
                   DISTRICT OF MINNESOTA
 UNITED STATES OF AMERICA,                )    Case No. 21mj445 (HB)
                                          )
                          Plaintiff,      )
       v.                                 )    NOTICE OF APPEARANCE
                                          )
 BRIAN CHRISTOPHER MOCK,                  )
                                          )
                        Defendant.



      Pursuant to the Court’s order appointing counsel, the undersigned attorney

hereby notifies the Court and counsel that Keala C. Ede shall appear as appointed

counsel of record for the above named defendant in this case.



Dated: June 11, 2021                          s/Keala C. Ede
                                              KEALA C. EDE
                                              Attorney ID No. 387316
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                            Criminal No. 21-mj-445 HB

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                 NOTICE OF APPEARANCE

BRIAN CHRISTOPHER MOCK,

                       Defendant.


      The following criminal case is being reassigned as follows:

      Add AUSA

      Joseph S. Teirab

      Remove AUSA

      Michelle E. Jones

Dated: June 14, 2021                           Respectfully submitted,

                                               W. ANDERS FOLK
                                               Acting United States Attorney


                                               s/Joseph S. Teirab
                                               BY: JOSEPH S. TEIRAB
                                               Assistant U.S. Attorney
                                               Attorney ID No. 0393439




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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MINNESOTA

                                                    )      COURT MINUTES - CRIMINAL
United States of America,                           )     BEFORE: KATHERINE M. MENENDEZ
                                                    )         U.S. MAGISTRATE JUDGE
                        Plaintiff,                  )
v.                                                  )   Case No:             21-mj-445 HB
                                                    )   Date:                June 15, 2021
Brian Christopher Mock,                             )   Courthouse:          Lori Simpson
                                                    )   Video Conference
                        Defendant,                  )   Time Commenced:       11:35 a.m.
                                                    )   Time Concluded:       1:50 p.m.
                                                    )   Time in Court:        2 hours, 15 minutes
                                                    )
                                                    )

X PRELIMINARY HEARING
X DETENTION HEARING
                      Time in Court Prelim/Det: 1 hour, 7 minutes/ 1 hour, 8 minutes

APPEARANCES:

Plaintiff: Joseph Teirab, Assistant U.S. Attorney
Defendant: Keala Ede,
                X FPD

On     X Complaint

X Charges from other District: District of Columbia

X Personal Recognizance Bond set with conditions, see Order Setting Conditions of Release.

X Deft removed to charging district and is ordered to appear before Magistrate Judge Zia M. Faruqui on June
18, 2021 at 1:00 p.m. Eastern Standard Time by video conference.

X Defendant waived right to removal hearing
X Removal Order to be Issued
X Probable cause found.

Additional Information:
X Defendant consents to this hearing via video conference.
Joshua Stenzel testified.
Government exhibits A-T admitted.
Defense objects to exhibits M, N, R, S and T. Denied.
Government requests a 24-hour Stay. Granted. Stay is effective until 2:00 p.m. on June 16, 2021.

                                                                                               s/ SAE
                                                                        Signature of Courtroom Deputy




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                                              No. 0:21-mj-00445-HB

                      Plaintiff,

v.                                                                 ORDER

Brian Christopher Mock,

                      Defendant.


       On June 15, 2021, the Court held a detention hearing as to Mr. Mock. ECF 5. The
Court Ordered Mr. Mock released on conditions, including that he submit to supervision by
Probation and Pretrial Services, maintain employment, wear an electronic monitor, and
avoid any contact or communication whatsoever with witnesses in this matter. The
government intends to appeal the release Order. See 18 U.S.C. § 3145 (providing that if a
magistrate judge orders a person’s release, the government may file a motion for revocation
of the order). Because the government will be seeking review of the undersigned’s decision,
the Order setting the conditions of Mr. Mock’s release is STAYED. This stay will remain in
effect until 2:00 p.m. tomorrow, June 16, 2021, or until further order of the Court.

Date: June 15, 2021

                                                           s/Katherine Menendez
                                                          Katherine Menendez
                                                          United States Magistrate Judge




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
       v.                                   : MAGISTRATE NO. 21-MJ-469 (RMM)
                                            :
BRIAN CHRISTOPHER MOCK,                     :
     Defendant.                             :


                                            ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Brian Christopher Mock

       It is this 16th day of June, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the District of Minnesota Magistrate Judge on June 15, 2021 as to

defendant Brian Christopher Mock is STAYED pending review of the detention decision by

this Court.




                                            BERYL A. HOWELL
                                            CHIEF JUDGE, UNITED STATES DISTRICT
                                            COURT FOR THE DISTRICT OF COLUMBIA




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                                    UNITED STATES DISTRICT COURT
                                  STATE AND DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA                                                 GOVERNMENT=S EXHIBIT LIST
          v.                                                             Case No. 21-mj-445 (HB)
BRIAN CHRISTOPHER MOCK
PRESIDING JUDGE                                   PLAINTIFF'S ATTORNEY                 DEFENDANT'S ATTORNEY


The Honorable Katherine M. Menendez               Joseph Teirab                        Keala C. Ede
                                                  Assistant U.S. Attorney

HEARING DATE                                      COURT REPORTER                       COURTROOM DEPUTY
June 15, 2021 Preliminary/Detention               Lori Simpson                         Sarah Erickson
Hearing
 PLF.     DEF.       DATE
 NO.      NO.       OFFERED
                              MARKED   ADMITTED                          DESCRIPTION OF EXHIBIT


 A                                                Body Worn Camera Video regarding 2:29 p.m. incident
 B                                                Screenshot 1 of Body Worn Camera Video regarding 2:29 p.m.
 C                                                Screenshot 2 of Body Worn Camera Video regarding 2:29 p.m.
 D                                                Screenshot 3 of Body Worn Camera Video regarding 2:29 p.m.
 E                                                Body Worn Camera Video regarding 2:34 p.m. incident
                                                  Screenshot 1 of Body Worn Camera Video regarding 2:34 p.m.
 F
                                                  incident
                                                  Screenshot 2 of Body Worn Camera Video regarding 2:34 p.m.
 G
                                                  incident
                                                  Screenshot 3 of Body Worn Camera Video regarding 2:34 p.m.
 H
                                                  incident
                                                  Screenshot 4 of Body Worn Camera Video regarding 2:34 p.m.
  I
                                                  incident
  J                                               Sedition Hunters Screenshot
 K                                                Social Media Screenshot Submitted by Witness 1
 L                                                Social Media Screenshot 1 Submitted by Witness 2
 M                                                Social Media Screenshot 2 Submitted by Witness 2
 N                                                Social Media Screenshot 3 Submitted by Witness 2
 O                                                Social Media Screenshot 4 Submitted by Witness 2
 P                                                Social Media Screenshot 1 Submitted by Witness 5
 Q                                                Social Media Screenshot 2 Submitted by Witness 5
 R                                                Facebook Comments of Defendant from January 1, 2021


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PLF.   DEF.      DATE
NO.    NO.      OFFERED
                          MARKED   ADMITTED                        DESCRIPTION OF EXHIBIT


S                                             Facebook Comments of Defendant from January 3, 2021
T                                             Facebook Comments of Defendant from January 8, 2021




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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                             Criminal No. 21-mj-445 (HB)

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )
                                        )     NOTICE THAT NO
      v.                                )     REDACTION IS REQUIRED
                                        )
BRIAN CHRISTOPHER MOCK,                 )
                                        )
                    Defendant.          )

      The undersigned attorney for the defendant hereby notifies the Court, court

reporter, and counsel that in accordance with the procedure set forth in Local Rule

5.5, Redaction of Transcript, that in regards to the transcript of Preliminary and

Detention Hearing held on June 15, 2021, I will not be requesting redaction as no

redaction is required.



Dated: June 22, 2021                          Respectfully submitted,

                                              s/ Keala C. Ede_______________
                                              KEALA C. EDE
                                              Attorney No. 387316
                                              Attorney for Defendant
                                              Office of the Federal Defender
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415




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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                     Case No. 21-mj-445 HB

               Plaintiff,

v.
                                                              ORDER OF REMOVAL

 Brian Christopher Mock,

              Defendant.
              _________________________________________________
       The above captioned case was before the undersigned United States Magistrate Judge for

an appearance on June 11, 2021.     Defendant waived the removal hearing.

       Based on defendant’s waiver, the court finds that the defendant is the same person named

in the warrant filed in the District of Columbia, and he is ordered removed to that district for

further proceedings.



Dated: June 30, 2021                                  s/ Katherine M. Menendez
                                                      Katherine M. Menendez
                                                      U.S. Magistrate Judge




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                                                                               CLOSED,RULE5
                             U.S. District Court
                      U.S. District of Minnesota (DMN)
            CRIMINAL DOCKET FOR CASE #: 0:21−mj−00445−HB−1
                              Internal Use Only

Case title: USA v. Mock                                 Date Filed: 06/11/2021
                                                        Date Terminated: 06/30/2021

Assigned to: Magistrate Judge
Hildy Bowbeer

Defendant (1)
Brian Christopher Mock            represented by Keala C Ede
TERMINATED: 06/30/2021                           Office of the Federal Defender
                                                 300 South Fourth Street, Suite 107
                                                 Minneapolis, MN 55415
                                                 612−664−5858
                                                 Fax: 612−664−5850
                                                 Email: keala_ede@fd.org
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Public Defender or Community
                                                 Defender Appointment

                                                Katherian D Roe
                                                Office of the Federal Defender
                                                300 S 4th St Ste 107
                                                Mpls, MN 55415
                                                612−664−5858
                                                Fax: 612−664−5850
                                                Email: katherian_roe@fd.org
                                                TERMINATED: 06/11/2021
                                                Designation: Public Defender or Community
                                                Defender Appointment

Pending Counts                                  Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                               Disposition
None



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Highest Offense Level
(Terminated)
None

Complaints                                             Disposition
18:111



Plaintiff
USA                                             represented by Joseph Scott Teirab
                                                               DOJ−USAO
                                                               300 S 4th Street
                                                               Ste 600
                                                               Minneapolis, MN 55415
                                                               612−664−5636
                                                               Email: joseph.teirab@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                Michelle E Jones
                                                                United States Attorney's Office
                                                                300 S 4th St Ste 600
                                                                Minneapolis, MN 55415
                                                                (612) 664−5600
                                                                Email: michelle.e.jones@usdoj.gov
                                                                TERMINATED: 06/14/2021
                                                                Designation: Retained
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed     #   Page Docket Text
 06/11/2021               Arrest (Rule 5) of Brian Christopher Mock. (SAE) (Entered: 06/11/2021)
 06/11/2021     1         Minute Entry for proceedings held before Magistrate Judge Hildy Bowbeer:
                          Initial Appearance in Rule 5(c) (3) Proceedings as to Brian Christopher Mock
                          held on 6/11/2021. Charges from the District of Columbia. Counsel to be
                          appointed. Government moves for detention. Motion is granted, temporary
                          detention ordered. Detention and Preliminary Hearing set for 6/15/2021 at 11:30
                          AM in Video Conference (no courtroom) before Magistrate Judge Katherine M.
                          Menendez. Removal hearing waived. Defendant consents to this hearing via
                          video conference. Government motions to unseal the Complaint− Granted.
                          (SAE) (Entered: 06/11/2021)
 06/11/2021     2         ORDER OF PRELIMINARY DETENTION as to Brian Christopher Mock.
                          Detention and Preliminary Hearing set for 6/15/2021 at 11:30 AM in Video
                          Conference (no courtroom) before Magistrate Judge Katherine M. Menendez.
                          Signed by Magistrate Judge Hildy Bowbeer on 6/11/2021. (SAE) (Entered:
                          06/11/2021)


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06/11/2021    3     NOTICE OF ATTORNEY APPEARANCE/SUBSTITUTION for Brian
                    Christopher Mock. (Ede, Keala) (Entered: 06/11/2021)
06/14/2021    4     NOTICE OF ATTORNEY APPEARANCE/SUBSTITUTION for USA.
                    (Teirab, Joseph) (Entered: 06/14/2021)
06/15/2021    5     Minute Entry for proceedings held before Magistrate Judge Katherine M.
                    Menendez: Detention Hearing and Preliminary Examination as to Brian
                    Christopher Mock held on 6/15/2021. Personal Recognizance Bond set as to
                    Brian Christopher Mock. Deft waived removal hearing − Deft removed to
                    charging district. Probable cause found. Govt requests 24−hour stay. Stay
                    granted until 2:00 p.m. on 6/16/2021. Deft consented to hearing via video
                    conference. (Court Reporter Lori Simpson) (MME) (Entered: 06/15/2021)
06/15/2021    6     TRANSCRIPT REQUEST for an Expedited Daily Transcript (by 8am
                    following day) of 5 Detention Hearing, Preliminary Examination, Bond
                    Set/Reset to Court Reporter Lori Simpson. (NAH) (Entered: 06/15/2021)
06/15/2021    7     DOCUMENT FILED IN ERROR − ORDER OF REMOVAL to District of
                    Columbia as to Brian Christopher Mock. Signed by Magistrate Judge Katherine
                    M. Menendez on 6/15/2021. (MME) Modified text on 6/15/2021 (MME).
                    (Entered: 06/15/2021)
06/15/2021    8     ORDER Setting Conditions of Release as to Brian Christopher Mock. Signed by
                    Magistrate Judge Katherine M. Menendez on 6/15/2021. (SAE) (Entered:
                    06/15/2021)
06/15/2021    9     Personal Recognizance Bond Entered as to Brian Christopher Mock. Signed by
                    Magistrate Judge Katherine M. Menendez on 6/15/2021. (SAE) (Entered:
                    06/15/2021)
06/15/2021   10     STAY ORDER as to Brian Christopher Mock. Signed by Magistrate Judge
                    Katherine M. Menendez on 6/15/2021. (SAE) (Entered: 06/15/2021)
06/16/2021   11     TRANSCRIPT of Preliminary and Detention Hearing held on 6/15/2021 before
                    Magistrate Judge Katherine M. Menendez as to Brian Christopher Mock. (88
                    pages). Court Reporter: Lori Simpson. For a copy of the transcript, please file a
                    Transcript Request under Other Filings/Other Documents.

                    Parties have 7 days to file a Notice of Intent to Request Redaction. In
                    accordance with Judicial Conference policy and Local Rule 80.1, the
                    transcript may be released and made remotely electronically available to
                    the public in 90 days. For further information on redaction procedures, please
                    review Local Rule 5.5 and Case Information >Transcripts, Court Reporters and
                    Digital Audio Recordings.

                    Notice Intent/No Intent to Request Redactions due 6/23/2021.
                    Redaction Request due 7/7/2021.
                    Redacted Transcript Deadline set for 7/19/2021.
                    Release of Transcript Restriction set for 9/14/2021.
                    (LAS) (Entered: 06/16/2021)
06/16/2021   12     ORDER FOR AN EMERGENCY STAY as to Brian Christopher Mock. Signed
                    by Chief Judge Beryl A. Howell (District of Columbia). (SAE) (Entered:
                    06/16/2021)


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06/16/2021   14     TRANSCRIPT REQUEST for a COPY OF 11 Transcript&#040s&#041 to
                    Court Reporter Lori Simpson. (Ede, Keala) (Entered: 06/16/2021)
06/16/2021   15     EXHIBIT LIST by USA as to Brian Christopher Mock (Teirab, Joseph)
                    (Entered: 06/16/2021)
06/22/2021   17     NOTICE THAT NO REDACTION IS REQUIRED by Brian Christopher Mock
                    re 11 Transcript,,,, . Attn: Court Reporter Lori Simpson. (Ede, Keala) (Entered:
                    06/22/2021)
06/30/2021   18     ORDER OF REMOVAL to District of District of Columbia as to Brian
                    Christopher Mock. Signed by Magistrate Judge Katherine M. Menendez on
                    6/30/2021. (SAE) (Entered: 06/30/2021)




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